           Case 2:10-cv-01823-JLR Document 45-2 Filed 02/07/11 Page 1 of 2




 1                                                           HONORABLE JAMES L. ROBART

 2

 3

 4

 5

 6

 7                       IN THE UNITED STATES DISTRICT COURT
 8                     FOR THE WESTERN DISTRICT OF WASHINGTON
                                     AT SEATTLE
 9
     MICROSOFT CORPORATION, a
10                                                   Case No. 10-1823
     Washington corporation,
11
                                                     (PROPOSED) ORDER GRANTING
                                Plaintiff,           MICROSOFT’S MOTION FOR LEAVE
12
                                                     TO FILE AMENDED AND
13          vs.                                      SUPPLEMENTAL COMPLAINT

14   MOTOROLA, INC., and MOTOROLA                    Noted: Friday, February 25, 2011
     MOBILITY, INC.,
15
                                Defendants
16

17          This matter came before the Court on the motion of Microsoft for an Order Granting
18   Leave to File Amended and Supplemental Complaint. The Court has considered the following
19   pleadings:
20          1.     Microsoft’s Motion for Leave to File Amended and Supplemental Complaint;
21          2.     Declaration of Shane Cramer in Support of Microsoft’s Motion for Leave to
22   File Amended and Supplemental Complaint;
23          3.     Proposed Order Granting Microsoft’s Motion for Leave to File Amended and
24   Supplemental Complaint;
25

     (PROPOSED) ORDER GRANTING
     MICROSOFT’S MOTION FOR LEAVE TO FILE                                            LAW OFFICES
     AMENDED AND SUPPLEMENTAL                                     DANIELSON HARRIGAN LEYH & TOLLEFSON LLP
                                                                           999 THIRD AVENUE, SUITE 4400
     COMPLAINT - 1                                                          SEATTLE, WASHINGTON 98104
                                                                        TEL, (206) 623-1700 FAX, (206) 623-8717
           Case 2:10-cv-01823-JLR Document 45-2 Filed 02/07/11 Page 2 of 2




 1          4.

 2          5.

 3          6.

 4          The Court therefore deems itself fully advised. Now, therefore,

 5          IT IS ORDERED that Microsoft’s Motion for Leave to File Amended and

 6   Supplemental Complaint is GRANTED. The Clerk is directed to file with the Court

 7   Microsoft’s Amended and Supplemental Complaint, attached to Microsoft’s Motion as Exhibit

 8   A.

 9          DATED this ____ day of February, 2011.

10                                       ______________________________________
                                         HONORABLE JAMES L. ROBART
11                                       US DISTRICT COURT JUDGE
12
     Presented by:
13
     DANIELSON HARRIGAN LEYH & TOLLEFSON LLP
14
     By ____/s/ Shane P. Cramer___________________
15         Arthur W. Harrigan, Jr., WSBA #1751
           Christopher Wion, WSBA #33207
16         Shane P. Cramer, WSBA #35099
17
            T. Andrew Culbert, WSBA #35925
18          David E. Killough, WSBA #21119
            MICROSOFT CORPORATION
19
            John W. McBride, (pro hac vice)
20          David T. Pritikin, (pro hac vice)
            Richard A. Cederoth, (pro hac vice)
21          Douglas I. Lewis, (pro hac vice)
            SIDLEY AUSTIN LLP
22
            Brian R. Nester, (pro hac vice)
23
            Kevin C. Wheeler, (pro hac vice)
24          SIDLEY AUSTIN LLP

25   Counsel for Plaintiff Microsoft Corp.

     (PROPOSED) ORDER GRANTING
     MICROSOFT’S MOTION FOR LEAVE TO FILE                                            LAW OFFICES
     AMENDED AND SUPPLEMENTAL                                      DANIELSON HARRIGAN LEYH & TOLLEFSON LLP
                                                                           999 THIRD AVENUE, SUITE 4400
     COMPLAINT - 2                                                          SEATTLE, WASHINGTON 98104
                                                                        TEL, (206) 623-1700 FAX, (206) 623-8717
